         Case 1:16-cr-00229-BAH Document 169 Filed 08/13/24 Page 1 of 15




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA,

                          v.
                                                          Criminal Action No. 16-229 (BAH)
    RUBEN OSEGUERA-GONZALEZ,
                                                          Judge Beryl A. Howell
                          Defendant.


                            MEMORANDUM OPINION AND ORDER
        Defendant Ruben Oseguera-Gonzalez faces trial on September 9, 2024, on a two-count

superseding indictment, arising from his alleged drug trafficking and use and possession of a

firearm, including a destructive device, in furtherance thereof. Superseding Indictment, ECF No.

6. Pending before the Court are two pretrial motions filed by the government: (1) Motion In Limine

to Preclude Improper Use of Agent Interview Reports and Notes (“Gov’t’s MIL to Preclude

Interview Reps.”), ECF No. 140; and (2) Motion for Witnesses to Testify in Pseudonym (“Gov’t’s

Mot. for Pseudonym”), ECF No. 141. 1 Defendant has filed no opposition, timely or otherwise, to

either motion. For the reasons set forth below, both motions are GRANTED as conceded, and in

any event, warrant relief on the merits.




1
        In addition to these two motions, the government filed a combined Motion in Limine to Admit Signed
Statement of Facts and Opposition to Defendant’s Motion to Preclude Use of the Same, see ECF Nos. 144 (sealed),
146 (public, redacted), which motion was denied by Memorandum Opinion and Order on August 5, 2024, see Mem.
Op. & Order, ECF No. 163; and defendant has filed five motions: (1) Motion to Preclude the Use of Defendant’s
Statements Made During the Course of Plea Negotiations, ECF No. 137, which was granted by the same August 5,
2024, Memorandum Opinion and Order, see id.; (2) Motion to Exclude Proposed Rule 404(b) Evidence, ECF No.
135, which was granted in part and denied in part on August 12, 2024, see Mem. Op., ECF No. 167 (sealed); (3)
Motion to Suppress, ECF No. 139, which was denied by Memorandum Opinion and Order on August 13, 2024, see
Mem. Op. & Order, ECF No. 168 (sealed); (4) Motion to Exclude Expert Testimony, ECF No. 138, and (5) Motion
In Limine to Exclude Hearsay, Allow Attorney Voir Dire, Exclude an Appeal to Passion or Prejudice, Exclude
Vouching, and Exclude New Arguments, ECF No. 143, which motions remain pending.

                                                      1
        Case 1:16-cr-00229-BAH Document 169 Filed 08/13/24 Page 2 of 15




  I.   BACKGROUND

       As part of an extensive and long-term investigation into the drug trafficking activities of

the Cártel de Jalisco Nueva Generación (“CJNG”), a large and violent drug trafficking

organization based in Jalisco, Mexico, responsible for trafficking bulk quantities of cocaine,

methamphetamine, and heroin into the United States, the U.S. Drug Enforcement Agency

identified defendant as the son of Nemesio Oseguera-Cervantes, also known as “Mencho,” who is

the leader of the CJNG, and as a high-ranking participant in CJNG’s drug trafficking. See Gov’t’s

Mot. for Pre-Trial Det. (“Gov’t’s Det. Mot.”) at 2, 6, ECF No. 13.

       In February 2017, the government filed a two-count superseding indictment against

defendant, charging him with conspiring, from around 2007 until February 1, 2017, the date of the

Superseding Indictment, to distribute five kilograms of more of a mixture and substance containing

a detectable amount of cocaine, as well as 500 grams or more of a mixture and substance containing

a detectable amount of methamphetamine, for unlawful importation into the United States, in

violation of 21 U.S.C. §§ 959(a), 960, and 963, and 18 U.S.C. § 2 (Count One); and using,

carrying, brandishing, and possessing a firearm, including a destructive device, in furtherance of

the drug trafficking offense charged in Count One, in violation of 18 U.S.C. §§ 924(c)(1)(A)(i),

924(c)(1)(A)(ii), 924(c)(1)(B)(ii), and 2 (Count Two). See Superseding Indictment, ECF No. 6.

Defendant was extradited from Mexico to Washington, D.C. on February 20, 2020, to face

prosecution on the Superseding Indictment. See Gov’t’s Det. Mot. at 2.

       More than seven years after these charges were made public and known to defendant while

under arrest in Mexico, four years after defendant’s extradition to the United States, and after trial

dates in this matter were set—and re-set at defendant’s request or with his consent—three separate

times, see Min. Scheduling Orders (June 1, 2022, Sept. 15, 2023, and Nov. 27, 2023) (scheduling



                                                  2
        Case 1:16-cr-00229-BAH Document 169 Filed 08/13/24 Page 3 of 15




trial to begin on May 1, 2023, then on Oct. 7, 2024 and, now, on Sept. 9, 2024, respectively),

defendant now faces trial on September 9, 2024. In advance of this trial date, and pursuant to this

Court’s Scheduling Order—as amended at the parties’ request to extend the deadline for the

submission of any pre-trial motions, with the concomitant extension for the filing of any

oppositions—the parties were directed to file, by July 8, 2024, “any pre-trial motions, including

any motions in limine, with any oppositions due by July 22, 2024, and any replies due by July 29,

2024.” Amended Scheduling Order (June 28, 2024); see also Jt. Mot. for Extension of Time to

File Pretrial Mots., ECF No. 136.

       Pursuant to this Scheduling Order, the government timely filed, on July 8, 2024, three

pretrial motions, one of which has since been denied. See Gov’t’s Mot. in Limine to Admit Signed

Statement of Facts and Opp’n to Def.’s Mot. to Preclude Use of the Same (“Gov’t’s Signed

Statement MIL”), ECF Nos. 144 (sealed), 146 (public, redacted); Gov’t’s MIL to Preclude

Interview Reps.; Gov’t’s Mot. for Pseudonym; see also Mem. Op. & Order, ECF No. 163 (denying

the government’s Signed Statement MIL). Despite defendant’s timely filing of an opposition to

the government’s Motion In Limine to Admit Signed Statement of Facts, see Def.’s Resp. & Opp’n

Gov’t’s Signed Statement MIL, ECF No. 148, defendant filed no opposition, timely or otherwise,

to the government’s other two pending pretrial motions. Hence, these motions are deemed

conceded and therefore granted. See D.D.C. LOCAL CRIM. R. 47(b) (providing that if a

“memorandum of points and authorities in opposition to [a] motion . . . is not filed within the

prescribed time, the Court may treat the motion as conceded”).

       To ensure clarity about the scope of these motions at trial, however, the merits of each are

addressed seriatim.




                                                3
         Case 1:16-cr-00229-BAH Document 169 Filed 08/13/24 Page 4 of 15




 II.    The Government’s Motion In Limine To Preclude Improper Use of Agent Interview
        Reports and Notes (ECF No. 140)

        The government seeks an order (1) “find[ing] that interview reports and notes prepared by

investigating agents,” which the government will disclose “at least two weeks prior to trial,” “are

not statements of the person interviewed under the Jencks Act,” and (2) “preclud[ing] the defense

from introducing the contents of these reports and notes to impeach witnesses during cross

examination, publishing the contents of reports and notes to the jury, or otherwise suggesting to

the jury that the reports and notes are statements of the witnesses who did not write them or adopt

them.” Gov’t’s MIL to Preclude Interview Reps. at 1, 6. On the merits, the government’s motion

seeks nothing more than application of well-settled law, though some guidance on the limits of

this ruling in limine may be helpful.

        “The Jencks Act, 18 U.S.C. § 3500, requires the prosecutor to disclose, after direct

examination of a Government witness and on the defendant’s motion, any statement of the witness

in the Government’s possession that relates to the subject matter of the witness’ testimony.”

United States v. Bagley, 473 U.S. 667, 670 n.2 (1985); see also Goldberg v. United States, 425

U.S. 94, 96–97 (1976). A “statement” is defined to include: (1) “a written statement made by said

witness and signed or otherwise adopted or approved by him,” (2) a “recording, or a transcription

. . . which is a substantially verbatim recital of an oral statement made by said witness and recorded

contemporaneously with the making of such oral statement,” or (3) “a statement . . . made by said

witness to a grand jury.” 18 U.S.C. § 3500(e). “[O]nly those statements which could properly be

called the witness’ own words should be made available to the defense for purposes of

impeachment.” Palermo v. United States, 360 U.S. 343, 352 (1959) (citation omitted); see also

United States v. Oruche, 484 F.3d 590, 597 (D.C. Cir. 2007) (“notes of a conversation are not

generally Jencks Act material (unless they represent a full transcription) . . . but a statement that is


                                                   4
        Case 1:16-cr-00229-BAH Document 169 Filed 08/13/24 Page 5 of 15




handwritten and approved by the witness is Jencks Act material” (citation omitted)); United States

v. Donato, 99 F.3d 426, 433 (D.C. Cir. 1996), as amended (Jan. 17, 1997) (observing that in

Palermo, “the Supreme Court explained that the Jencks Act covered statements that could fairly

be used by the defense to impeach a government witness” and “[i]n order that this goal be achieved,

these statements had to be limited to those that could properly be called the witness’ own words”

(citing Palermo, 360 U.S. at 352)).

       The government posits, correctly, that “interview reports and notes prepared by

investigating agents are not statements of the person interviewed under the Jencks Act[.]” Gov’t’s

MIL to Preclude Interview Reps. at 1. Interview reports written by law enforcement officers, not

by the witnesses themselves, “generally do not qualify as Jencks Act statements” since “they are

not usually a ‘substantially verbatim recital’ of the witness’s words or ‘adopted or approved by’

the witness.” United States v. Moore, 651 F.3d 30, 75 (D.C. Cir. 2011), aff’d sub nom. Smith v.

United States, 568 U.S. 106 (2013) (citations omitted).

       Set against this well-settled law based on the clear text of the Jencks Act itself, the

government argues that the interview notes the government intends to produce prior to trial “do

not qualify as statements within the meaning of the Jencks Act” since they “were not taken by the

witnesses themselves, but rather by the investigative agents conducting the interviews”; they “have

not been adopted by the witnesses”; and “the notes do not qualify as ‘substantially verbatim

recitals’ of the witness’ words.” Gov’t’s MIL to Preclude Interview Reps. at 4. Should this be the

record developed at trial, i.e., that agents’ interview notes and reports are not the statements of the

witnesses themselves, then the government is entitled to the order sought precluding the defense

from “introducing the contents of the reports and notes to impeach witnesses on the basis of

inconsistent statements,” “publishing the contents of the reports and notes to the jury,” or



                                                  5
         Case 1:16-cr-00229-BAH Document 169 Filed 08/13/24 Page 6 of 15




“otherwise suggesting to the jury that a report or note is a statement of the witness.” Id. at 4–5;

see, e.g., United States v. Hamead, No. 20-cr-20162, 2024 WL 1049486, at *3 (E.D. Mich. Mar.

11, 2024) (granting government’s motion to preclude use of law enforcement agent interview

reports or notes for impeachment and thereby precluding defendants from “using such reports to

impeach a witness on cross examination, publishing to the jury, or suggesting to the jury that such

summaries are witness statements,” since “[i]nterview reports are not witness statements under the

Jencks Act” (citing Palermo, 360 U.S. at 350)); United States v. Patel, No. 19-cr-80181 (RAR),

ECF No. 351 (S.D. Fla. Nov. 22, 2022) (holding that “[w]hile defense may ask a witness whether

he or she made a statement that is reflected in an agent interview report, defense may not publish,

read from, or introduce contents of the report as a prior inconsistent statement” and “may not use

an interview report to suggest to the jury that the interview report is a statement of the witness”);

United States v. Starks, No. 10-cr-160 (SA) (JMV), 2012 WL 12878587, at *2 (N.D. Miss. July

20, 2012) (granting government’s “motion to preclude improper cross-examination with agent

interview reports” (capitalization omitted)); United States v. Griffin, No. 10-cr-160 (SA) (JMV),

2012 WL 12878573, at *2 (N.D. Miss. July 19, 2012) (same).

       This ruling is subject to several important caveats.

       First, the record at trial is yet to be developed. For this obvious reason, other courts

confronted by similar government motions in limine have reasonably concluded that the requested

relief is premature. Any concerns about how agent interview reports or notes may be used,

presented, or sought to be admitted at trial must be addressed within the specific context in which

the issues arise, if at all, at trial. See, e.g., United States v. Akula, No. 21-cr-98, 2023 WL 4235568,

at *2 (E.D. La. June 28, 2023) (deferring until trial any ruling on the government’s motion to

preclude defendant from “introducing interview reports prepared by law enforcement agents for



                                                   6
         Case 1:16-cr-00229-BAH Document 169 Filed 08/13/24 Page 7 of 15




the purpose of impeaching government witnesses,” since “the Court has not been presented with

arguments as to any specific witness statements”); United States v. Schena, No. 20-cr-425 (EJD),

2022 WL 2910185, at *8 (N.D. Cal. July 23, 2022) (same); United States v. Fields, No. 17-cr-169,

2018 WL 4899442, at *1 (E.D. Pa. Oct. 9, 2018) (denying without prejudice motion to preclude

defendant from “reading aloud from interview reports written by DEA and IRS agents to impeach

witnesses who did not author or adopt the reports,” stating, “[t]he Court will not make a broad

ruling without seeing how these issues arise, if at all, at trial”).

        Second, the defense may certainly on cross-examination seek to lay a foundation that the

witness adopted the substance reflected in the agents’ interview notes. In doing so, as the

government concedes, “[t]he defense is, of course, free to ask a witness whether he or she made a

statement that is reflected in an agent’s interview report or note,” Gov’t’s MIL to Preclude

Interview Reps. at 5, and “[i]f, during cross examination, the Government believes Defendant is

violating the parameters of Palermo v. United States, 360 U.S. 343 (1959),” Schena, 2022 WL

2910185, at *8, the government may interpose an objection.

        Third, if the defense lays a proper foundation to establish on cross-examination that the

witness interview reports or notes in fact “represent a statement previously made by” the

government witness, such materials would be “admissible for impeachment purposes under

[Federal Rule of Evidence] 613(a).” United States v. Brika, 416 F.3d 514, 529 (6th Cir. 2005)

(finding no abuse of discretion in district court ruling permitting government to impeach witness

with document that “appears to have been [witness’s] prior statement,” where document, was

“adopted and signed by [the witness]” and “upon examination, [the witness] acknowledged that

she recognized the document as the statement she had given to the police” (citations omitted)); see

also Goldberg, 425 U.S. at 100–01, 111–12 (remanding case for district court to review interview



                                                    7
        Case 1:16-cr-00229-BAH Document 169 Filed 08/13/24 Page 8 of 15




notes withheld from defense to determine whether such notes contained witness statements within

meaning of Jencks Act, where witness testified on cross examination that, during interview with

prosecuting attorneys, witness was asked “from time to time” whether he was properly understood

and witness provided corrections); Campbell v. United States, 373 U.S. 487, 492 (1963) (“Plainly,

if [federal agent] in making the oral presentation was in fact reading the notes back to [witness],

the latter’s adoption of the oral presentation would constitute adoption of a written statement made

by him, namely, the notes.” (citations omitted)); United States v. Crinel, No. 15-cr-61, 2016 WL

6441249, at *4 (E.D. La. Nov. 1, 2016) (recognizing that “if it can be established that a

Government witness did adopt a statement or it was recorded verbatim, the interview report may

be used for impeachment during the cross-examination of the witness who made the statement”

(citation omitted)); Fields, 2018 WL 4899442, at *1 (noting that government witnesses may be

cross-examined “with interview reports and notes authored by other agents after laying the proper

foundation and otherwise fully complying with applicable Federal Rules of Evidence”). The

government acknowledges this. See Gov’t’s MIL to Preclude Interview Reps. at 5.

       Any finding at trial that a proper foundation has been laid to pursue use of agents’ interview

notes for impeachment purposes will be guided by the principles recognizing that “even if the

interviewer wrote down a few of the witness’s exact words, there is no ‘substantially verbatim

recital’ [under the Jencks Act] if the interviewer engaged in ‘substantial selection’ in quoting the

witness.” Moore, 651 F.3d at 75 (quoting Donato, 99 F.3d at 433 (quoting Palermo, 360 U.S. at

352–53)). Merely because notes are contemporaneously prepared when a witness gives responses

during an interview does not mean those notes “become the witness’ statement . . . if the agent

‘does not read back, or the witness does not read, what the [agent] has written,’” United States v.




                                                 8
        Case 1:16-cr-00229-BAH Document 169 Filed 08/13/24 Page 9 of 15




Roseboro, 87 F.3d 642, 645 (4th Cir. 1996) (alteration in original) (quoting Goldberg, 425 U.S. at

110 n.19)).

       Fourth, absent a proper foundation, “the defense is limited to questioning the Government

witness about whether he or she talked to the law enforcement agent, and if so, the defense may

ask the witness whether he or she made the statement in question to the Government agent,” but

“may not read directly from the law enforcement agent’s report,” Crinel, 2016 WL 6441249, at

*4, nor publish or introduce the reports’ contents to the jury. If the witness’s testimony is

inconsistent with content in the reports or notes, defense counsel may also call the government

agent who authored the reports or notes “and ask whether the witness made the prior statement.”

United States v. DaVita Inc., No. 21-cr-229 (RBJ), 2022 WL 833368, at *4 (D. Colo. Mar. 21,

2022); see also Crinel, 2016 WL 6441249, at *5. “If the [] agent denies it . . . [the reports and

notes] may be used for purposes of impeachment of the [] agent pursuant to [Federal Rule of

Evidence] 613(b), not as substantive evidence.” DaVita Inc., 2022 WL 833368, at *4 (citations

omitted).

       Accordingly, and subject to the caveats summarized above, the government’s Motion In

Limine To Preclude Improper Use of Agent Interview Reports and Notes, ECF No. 140, is

GRANTED.

III.   The Government’s Motion for Witnesses to Testify in Pseudonym (ECF No. 141)

       The government next moves for a protective order authorizing two witnesses, who are

Mexican law enforcement officials residing in Mexico, “to testify under pseudonyms; for their

names to be disclosed only to defense counsel, but not the defendant; and to preclude examination

of government witnesses regarding certain identifying information,” such as “home and work

addresses, telephone numbers, e-mail addresses, and other identifying information which could be



                                                9
        Case 1:16-cr-00229-BAH Document 169 Filed 08/13/24 Page 10 of 15




used to locate the witnesses.” Gov’t’s Mot. for Pseudonym at 1; see also id., Att. 1, Proposed

Protective Order. For the reasons summarized below, this motion is well-warranted and the

requested protective order will issue.

       The Sixth Amendment’s Confrontation Clause provides that “[i]n all criminal

prosecutions, the accused shall enjoy the right . . . to be confronted with the witnesses against

him.” U.S. Const. amend. VI. While “[i]n general, the Confrontation Clause guarantees a

defendant the right to question an adverse witness about identifying information, including his full

name and address . . . this right is not absolute,” and “a trial court may limit cross-examination if

the information sought could endanger the witness.” United States v. Ramos-Cruz, 667 F.3d 487,

500 (4th Cir. 2012) (quotation marks omitted) (citing Smith v. Illinois, 390 U.S. 129, 131 (1968),

and Chavis v. North Carolina, 637 F.2d 213, 226 (4th Cir. 1980)); see also Smith, 390 U.S. at 133–

34 (White, J. concurring) (observing that “inquiries which tend to endanger the personal safety of

the witness” “may go beyond the bounds of proper cross-examination”). In determining whether

to permit a witness to testify under pseudonym, courts “balance[] the . . . dangers to the protected

witnesses and their families, and the defense[’s] need to prepare to cross-examine the protected

witnesses[.]” United States v. Celis, 608 F.3d 818, 833 (D.C. Cir. 2010) (per curiam). The

government bears the burden of “demonstrat[ing] a threat to the witness’s personal safety.” United

States v. Gutierrez de Lopez, 761 F.3d 1123, 1140 (10th Cir. 2014) (collecting cases).

       In this case, “balancing the public interest in protecting the flow of information against the

[defendant’s] right to prepare his defense,” Roviaro v. United States, 353 U.S. 53, 62 (1957), the

government’s requested relief is appropriate for several reasons.

       First, the government has demonstrated that the threat to the Mexican law enforcement

officials who testify is “actual and not a result of conjecture.” Ramos-Cruz, 667 F.3d at 500



                                                 10
       Case 1:16-cr-00229-BAH Document 169 Filed 08/13/24 Page 11 of 15




(citation omitted). Citing multiple news reports, the government explains that the CJNG—a large

and violent drug trafficking organization based in Jalisco, Mexico, and led by defendant’s father,

Nemesio Oseguera Cervantes—has been linked to numerous attempted and completed attacks on

Mexican public officials, including: (1) the CNJG attempted to assassinate Jalisco’s former

security secretary and Mexico City’s public security secretary, in May 2018 and June 2020,

respectively; (2) the CNJG was “likely behind the assassination of former Jalisco governor” in

December 2020; and (3) the CNJG has “target[ed] lower-level government officials involved in

investigating or prosecuting the” CJNG. Gov’t’s Mot. for Pseudonym at 2–3 (citations omitted).

The government advises that since defendant was extradited to the United States in February 2020,

“two potential government witnesses in this case have been murdered in Mexico,” with at least

one witness murdered “in order to prevent [the witness] from testifying against the defendant.” Id.

at 3. Moreover, the Mexican judge who “presided over the defendant’s case in Mexico and ordered

the defendant’s transfer to a high-security prison in 2018” was murdered in June 2020, within

months of defendant’s extradition. Id. (citation omitted).

       Despite the conceded lack of evidence “linking the defendant to any of these murders,” id.,

“[t]he appropriateness of using pseudonyms to protect witnesses does not depend on whether the

threat to the witness comes directly from a defendant or from another source,” Celis, 608 F.3d at

832; see also Gutierrez de Lopez, 761 F.3d at 1141 (same). Given these recent murders of potential

government witnesses in this case and of a Mexican judge who presided over defendant’s case in

Mexico, together with the CJNG’s record of attempted and completed attacks on public officials

generally, the government has demonstrated the danger that testifying Mexican law enforcement

officials would face if they were to testify under their true names and/or provide other identifying

information to anyone other than defense counsel. See, e.g., Celis, 608 F.3d at 829, 832 (in



                                                11
        Case 1:16-cr-00229-BAH Document 169 Filed 08/13/24 Page 12 of 15




prosecution for conspiracy to import cocaine, finding protective order permitting government

witnesses from Colombia to testify under pseudonym and limit disclosure of their identities to

defense counsel and defendant did not infringe on defendants’ Confrontation Clause rights, in part

where the government described that “the FARC, with which [defendants] were associated in

varying degrees, had . . . issued bulletins threatening death to anyone who ‘betrayed . . . [defendant]

Valderama,’ and directly threatened to kill at least two cooperating witnesses” and “the in limine

motion indicated the FARC had routinely used violence against its enemies”).

       Second, allowing the two Mexican law enforcement officials to testify under pseudonym

would not “deprive[] the defendant of an opportunity for effective cross-examination.” Gutierrez

de Lopez, 761 F.3d at 1141 (collecting cases).          The government proposes to disclose the

government’s witnesses’ names to defense counsel, together with all other disclosures required by

the Jencks Act, 18 U.S.C. § 3500, “including reports written by the witnesses about their

involvement in the investigation,” Gov’t’s Mot. for Pseudonym at 6. In similar circumstances,

these disclosures were found sufficient for effective cross examination of the government’s

witnesses. See United States v. Machado-Erazo, 951 F. Supp. 2d 148, 158 (D.D.C. 2013)

(authorizing government, in prosecution of members of transnational gang, MS-13, to withhold,

from both defendants and defense counsel, the name and identifying information of testifying El

Salvadorean police officer, reasoning that the government had disclosed the witness’s “expert

report, a summary of his qualifications, and his prior testimony” pursuant to Federal Rule of

Criminal Procedure 16(a)(1)(G)); Gutierrez de Lopez, 761 F.3d at 1146 (in prosecution for

conspiracy to transport undocumented aliens, holding defendant “was not deprived of an

opportunity for effective cross-examination of the Government’s confidential informant” where

defendant “was still able to face them before the jury” and “the Government provided defense



                                                  12
       Case 1:16-cr-00229-BAH Document 169 Filed 08/13/24 Page 13 of 15




counsel with significant impeachment material on each witness”); Ramos-Cruz, 667 F.3d at 500–

01 (in prosecution for witness-tampering, murder and possession of a firearm by an illegal alien,

affirming no Confrontation Clause violation occurred where government witnesses “testif[ied]

under pseudonyms and without revealing their names, home and work addresses, or dates and

places of birth” since, prior to trial, the government “disclosed the substance of the testimony the

two witnesses in question would provide at trial,” so “defendants were able to ‘effectively cross-

examine the witnesses without threatening their safety’” (quoting United States v. Zelaya, 336 F.

App’x 355, 358 (4th Cir. 2009)); Order at 2–3, United States v. Handy, No. 22-cr-96 (CKK), ECF

No. 358 (D.D.C. Aug. 8, 2023) (in prosecution for conspiracy against civil rights and obstructing

access to a reproductive health clinic, authorizing government’s civilian witnesses to testify under

pseudonym since “defense counsel has the true names of all government witnesses” and thus was

“well-armed with information upon which to confront and cross-examine those witnesses”

(citation and quotation marks omitted)).

       Here, as noted, the government proposes to disclose not only “reports written by the

witnesses about their involvement in the investigation” and other information required under the

Jencks Act, Gov’t’s Mot. for Pseudonym at 6, but also the witnesses’ identities to defense

counsel—unlike in Machado-Erazo and other cases in which the government withheld the

witness’s identifying information even from defense counsel. See Gutierrez de Lopez, 761 F.3d

at 1142–43 (collecting Circuit cases in which “[e]ven when the government has not disclosed

witnesses’ true identities to defense counsel,” courts “concluded defendants were not deprived of

an opportunity for effective cross-examination”); Machado-Erazo, 951 F. Supp. 2d at 152, 158–

59. In addition, the government’s witnesses “are not ‘insider witnesses’ testifying about their own

involvement with the defendant or the CJNG,” but rather “foreign law enforcement officials, who



                                                13
       Case 1:16-cr-00229-BAH Document 169 Filed 08/13/24 Page 14 of 15




are testifying about information they obtained in the course of their official duties.” Gov’t’s Mot.

for Pseudonym at 6; see, e.g., Ramos-Cruz, 667 F.3d at 501 (affirming ruling permitting witnesses

to testify under pseudonyms and “reiterat[ing] the limited focus of the witnesses’ testimony,”

where witnesses “proffered no evidence directly involving [defendant] or his activities” but

“merely provided background information about the internal workings of MS–13 generally”).

       In sum, considering the demonstrated “actual threat” to the government’s witnesses should

they testify absent a protective order, Ramos-Cruz, 667 F.3d at 500 (citation omitted), and the fact

that defendant will not be “deprived of an opportunity for effective cross-examination” of these

witnesses, Gutierrez de Lopez, 761 F.3d at 1146, “the scale tips in favor of maintaining the secrecy

of the witnesses’ names,” United States v. El-Mezain, 664 F.3d 467, 492 (5th Cir. 2011), as revised

(Dec. 27, 2011). Accordingly, the government’s Motion for Witness to Testify in Pseudonym,

ECF No. 141, is GRANTED.

IV.    CONCLUSION AND ORDER

       For the foregoing reasons, it is hereby

       ORDERED that the government’s Motion In Limine To Preclude Improper Use of Agent

Interview Reports and Notes, ECF No. 140, is GRANTED; and it is further

       ORDERED that the government’s Motion for Witnesses to Testify in Pseudonym, ECF

No. 141, is GRANTED; and it is further

       ORDERED that the government’s request for the entry of a Protective Order, see ECF No.

141-1, is GRANTED, and a Protective Order will be entered contemporaneously with the

Memorandum Opinion and Order.




                                                 14
   Case 1:16-cr-00229-BAH Document 169 Filed 08/13/24 Page 15 of 15




SO ORDERED.
Date: August 13, 2024
                                       __________________________
                                       BERYL A. HOWELL
                                       United States District Judge




                                  15
